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                            UNITED STATES DISTRICT COURT
                                                                                                   Jul 1 2011 9:05PM

                           EASTERN DISTRICT OF LOUISIANA


IN RE: OIL SPILL BY THE OIL RIG                           MDL No. 2179
³'((3:$7(5 +25,=21´ ,1 7+(
GULF OF MEXICO, ON APRIL 20, 2010                         6(&7,21³-´ 

APPLIES TO 11-275                                         JUDGE BARBIER

                                                          MAGISTRATE SHUSHAN

               75$162&($1¶6FIRST REQUESTS FOR ADMISSION TO
                BP DEFENDANTS REGARDING INSURANCE ACTIONS

       Pursuant to the Federal Rules of Civil Procedure, Triton Asset Leasing GmbH.,

Transocean Holdings LLC, Transocean Offshore Deepwater Drilling Inc. and Transocean

Deepwater Inc. (collectively ³7UDQVRFHDQ´ serve upon BP plc, BP Exploration & Production,

Inc., BP America Production Company, BP Corporation North America, Inc., BP Company North

America, Inc., BP Products North America, Inc., BP America, Inc. and BP Holdings North

$PHULFD /LPLWHG FROOHFWLYHO\ ³%3´ , Anadarko E&P Company LP, Anadarko Petroleum

&RUSRUDWLRQ FROOHFWLYHO\ ³$QDGDUNR´  DQG 02(; 2IIVKRUH  //& ³02(;´  their First

Requests for Admission, the responses to which shall be made under oath, separately and fully, in

writing, within thirty (30) days after the service of said Requests for Admission and shall be given

to the undersigned counsel of record.
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Respectfully submitted,



By: /s/ Steven L. Roberts                       By: /s/ Kerry J. Miller
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                                                    Counsel for Triton Asset Leasing GmbH.,
                                                    Transocean Holdings LLC, Transocean
                                                    Offshore Deepwater Drilling Inc. and
                                                    Transocean Deepwater Inc.



                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that the foregoing has been served on All Counsel by

electronically uploading the same to Lexis Nexis File & Serve in accordance with Pretrial Order

No. 12, on this 1st day of July, 2011.

                                                    s/Kerry J. Miller___________




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                                        I.      DEFINITIONS


       As used in these Requests for Admission, the following terms shall have the meaning
described below, unless the context clearly indicates otherwise:

1.      Unless otherwise indicated, the use in these Requests for Admission of the name of any
        party, person, or business organization shall specifically include all agents, employees,
        underwriters, shareholders, owners, officers, directors, joint venturers, representatives,
        general partners, limited partners, predecessors, successors, attorneys, divisions,
        subsidiaries, parent corporations, affiliates, and all other persons acting or purporting to
        act through, on behalf of, at the direction of, or under the control of the subject party,
        person, or business organization.

2.      ³%3´ PHDQV DQG UHIHUV WR %3 SOF %3 ([SORUDWLRQ  3URGXFWLRQ ,QF %3 $PHULFD
        Production Company, BP Corporation North America, Inc., BP Company North America,
        Inc., BP Products North America, Inc., BP America, Inc. and BP Holdings North America
        Limited, and Vastar Resources, Inc., and all persons and entities described in (1) above.

3.      ³$QDGDUNR´ PHDQV $QDGDUNR ( 3 &RPSDQ\ /3 $QDGDUNR 3HWUROHXP &RUSRUDWLRQ DQG
        all persons and entities described in (1) above.

4.      ³02(;´ PHDQV 02(; 2IIVKRUH  //& DQG DOO SHUVRQV DQG HQWLWLHV GHVFULEHG LQ
        (1) above.

5.      ³7UDQVRFHDQ´ PHDQV DQG UHIHUV WR Triton Asset Leasing GmbH., Transocean Holdings
        LLC, Transocean Offshore Deepwater Drilling Inc. and Transocean Deepwater Inc. and all
        persons and entities described in (1) above.

6.      ³<RX´ DQG ³<RXU´ PHDQV %3 $QDGDUNR DQGRU 02(; DQG DOO SHUVRQV DQG HQWLWLHV
        described in (1) above.

7.      ³&RPPXQLFDWHG´ DQG ³FRPPXQLFDWLRQ´ shall mean the transmittal or transfer of
        information in any manner, by electronic mail, oral statement, conversation, meeting, or
        conference, formal or informal, at any time or place, and under any circumstances
        whatsoever.

8.      ³$QG´ DV ZHOO DV ³or´ VKDOO EH FRQVWUXHG GLVMXQFWLYHO\ RU FRQMXQFWLYHO\ as necessary in
        order to bring within the scope of the interrogatory all responses which might otherwise be
        construed to be outside its scope.

9.      Unless otherwise established by the context, the plural shall be construed to include the
        singular and the singular the plural.




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10.     ³)DFW´ refers to all evidentiary facts presently known to You and all evidentiary facts the
        existence of which is presently inferred by You from the existence of any combination of
        evidentiary and/or ultimate facts.

11.     ³,QFLGHQWLQ4XHVWLRQ´ refers to the event of April 20, 2010, including the fire, explosion
        and sinking of the DEEPWATER HORIZON and any resulting spill of oil.

12.     ³%37UDQVRFHDQ 'ULOOLQJ &RQWUDFW´ UHIHUV WR WKH 'ULOOLQJ &RQWUDFW EHWZHHQ 9DVWDU
        Resources and R&B Falcon Drilling Co. dated December 9, 1998 as extended by
        Amendment No. 38.




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                                 REQUESTS FOR ADMISSION

1.      Admit that as of the date of the Incident in Question there had been no Communication to
        You, or of which You were aware, to the effect that BP was or would be entitled to
        contractual indemnity for liability arising from environmental pollution originating
        underwater as a result of operations under the BP/Transocean Drilling Contract.

2.      Admit that as of the date of the Incident in Question there had been no Communication to
        You, or of which You were aware, to the effect that BP was or would be entitled to
        insurance coverage under an insurance policy issued to Transocean for liability arising
        from environmental pollution originating underwater as a result of operations under the
        BP/Transocean Drilling Contract.

3.      Admit that the BP/Transocean Drilling Contract does not require Transocean to
        contractually indemnify BP for liability arising from environmental pollution originating
        underwater.

4.      Admit that the BP/Transocean Drilling Contract required BP to contractually indemnify
        Transocean for environmental pollution originating underwater.

5.      Admit that You have never received contractual indemnity from any drilling contractor for
        environmental pollution originating underwater.

6.      Admit that, pursuant to the terms of the BP/Transocean Drilling Contract, BP has agreed
        to indemnify Transocean for its gross negligence.

7.      Admit that pursuant to the terms of the BP/Transocean Drilling Contract, BP assumed all
        responsibility for pollution or contamination which may result from fire, blow-out,
        cratering, seepage or any other uncontrolled flow of oil, gas, wastes or other substances
        from any well within the scope of the BP/Transocean Drilling Contract.

8.      Admit that as of the date of the Incident in Question it was Your corporate policy not to
        insure against the risk of liability arising from environmental pollution for operations in
        the Gulf of Mexico.

9.      Admit that as of the date of the Incident in Question it was the custom and practice in the
        oil and gas drilling industry that operators such as BP, not drilling companies such as
        7UDQVRFHDQ RU D GULOOLQJ FRPSDQ\¶V LQVXUHrs, bear the risk of liability arising from
        environmental pollution originating underwater.

10.     Admit that as of the date of the Incident in Question You did not understand that BP was
        HQWLWOHG WR EH LQGHPQLILHG E\ 7UDQVRFHDQ RU 7UDQVRFHDQ¶V LQVXUHUV IRU OLDELOLW\ of BP
        arising from environmental pollution originating underwater as a result of operations
        under the BP/Transocean Drilling Contract.




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